Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 1 of 12
Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 2 of 12




   DEPARTMENT OF WATER RESOURCES AND U.S. BUREAU OF
                     RECLAMATION
Updated REPORT TO SWRCB ON EXPORT AMOUNTS TO MAINTAIN
                       HEALTH AND SAFETY
                        DURING DROUGHT



                           April 8, 2014




                                  1
Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 3 of 12




                                    Update 4/8/14

Due to the dynamic nature this severe drought has on water demands and on Joint SWP/CVP
operations, updates to the attached report (Attachment 1) to the Board will be made on an as
needed basis as conditions change, or as new information becomes available.

This update outlines:
1. The methods used to quantify SWP and CVP health and safety needs; and,
2. The volume of water already exported; and,
3. The estimated future export rates and delivery volumes needed for the rest of 2014 and
    2015, assuming extreme drought conditions persist.

Our joint operation planning assumes a 2 year drought planning horizon, 2014 and 2015.
When revised standards were needed under the TUCP, the maximum combined Export rate
allowed was 1,500 CFS. The explicit purpose of these exports from February 1 through March
17 was to meet human health and safety needs. On March 18, 2014, the State Water Board
issued an Order allowing these exports for purposes other than human health and safety once
those basic needs were met.

Methods used to Quantify Health and Safety Needs

Several meetings were held with SWP contractors to develop methods and criteria to be used in
calculating their health and safety needs for 2014 and 2015.

Forms were developed and sent to SWP contractors to list all their existing SWP and non-SWP
water supplies, as well as their demands, with the goal of quantifying their unmet needs.
Contractors were required to utilize existing SWP and non-SWP water first, including
groundwater, before health and safety water could be used. The level of health and safety
water use was calculated using 55 Gallons/Capita/Day.

After the forms were returned and reviewed by DWR, each of the contractors was contacted to
review their submitted form and to verify their assumptions and techniques. This was an
iterative process of DWR interviewing contractors and reviewing submittals; and the
contractors refining their estimates and resubmitting their projections of unmet needs. These
were then used to determine the projected need by geographic area listed below.

Reclamation requested information from the CVP contractors to help determine health and
safety needs of the CVP. The request included estimates of the current year water demands,
identification of other sources of water, population estimates, and historical municipal and
industrial water supply use. Estimates of the CVP health and safety needs were determined for
2014 based on the data received. This information was used in conjunction with a figure of
50% of the historical municipal and industrial CVP water use to evaluate the CVP south of Delta
municipal and industrial needs.

                                              2
Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 4 of 12

Water Exported between February 1 and March 31

From February 1 through March 17, 2014, approximately 20 TAF was exported from the Delta under
the TUCP and classified as Health and Safety.

This includes approximately 9 TAF for the SWP from the SWP export facilities and 11 TAF for the CVP
from Jones Pumping Plant, (See Table X-1 and X-2).

Estimated Future Export Needs for 2014 and 2015
The majority of the currently projected health and safety needs in SWP service areas are broken
down into the following geographical areas, quantities and years:

       South Bay Area Contractors indicate they have a minimal need in 2014 and about 100 TAF
        need in 2015.
     Central Coast Area Contractors indicate they have a minimal need in 2014 and 2015.
     Southern California Area Contractors indicate they have a minimal need in 2014 and about
        160 TAF need in 2015.
The estimated minimal need in 2014 for the three geographical areas is projected at less than 10
TAF. Hence, the estimated minimal total in 2014 and approximately 260 TAF total in 2015 assumes
continued dry conditions for 2014 and equally dry conditions for 2015. The 2015 total also assumes
no carryover water is available to the contractors in that year.

Because of the dynamic nature of the situation, the projected needs for health and safety water will
likely fluctuate based on the actual hydrologic conditions for the remainder of 2014 and for 2015.

DWR estimates that it will be necessary to export a minimum of 200 CFS throughout the year to
provide South Bay Contractor SWP carryover supplies that are inaccessible from San Luis
Reservoir. Access to these carryover supplies was assumed as part of the determination of
2014 health and safety needs for South Bay Contractors. Additional SWP exports, which would
bring combined exports of up to 1500 cfs (as identified in the attached February 14 report),
may be periodically necessary to meet the balance of the 2014 and 2015 health and safety
volumes for all contractors.

The Bureau of Reclamation has used a figure of 50% of the historical municipal and industrial
CVP water use as an estimate of Health and Safety needs. Reclamation reviewed data furnished
by their contractors and currently estimates that the south of Delta CVP contractors would
need about 260 TAF of water for Health and Safety annually. In water year 2014, about 65 TAF
of that annual quantity would be needed from the CVP. This estimate will vary from year to
year depending on the availability of other supplies including SWP supply and groundwater use.
This Health and Safety estimate is based on 50 gallons per day per capita and 80% of historical
commercial\industrial use. Reclamation also has other high priority water demands south of
the Delta including water for wildlife refuges for our water rights settlement and water rights
exchange contractors.




                                              3
Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 5 of 12

Estimated Reservoir Carryover Storages for 2015

DWR estimates that a carryover storage of approximately one million acre-feet in Lake Oroville
by the end of water year 2014 (September 30, 2014) will be sufficient to meet human health
and safety needs in 2015. This level of storage should be sufficient under a conservative 90%
exceedence hydrologic assumption for water year 2015, while still meeting regulatory and
contractual commitments. This level of carryover storage would also be sufficient under even
drier conditions assuming the implementation of management actions in 2015 similar to those
being put into practice this year. These actions have included modifications to implementation
of D-1641 standards, planned construction of Delta Salinity Barriers, and potential curtailments
to other non human health and safety uses in the Sacramento-San Joaquin River Basins.

Reclamation estimates that current projected cumulative End Of September carryover storages
of CVP reservoirs (Shasta, Trinity, and Folsom) will range from about 1.4 maf (90 percent
hydrology w barriers) and 1.9 maf (50 percent hydrology without barriers) . Reclamation
believes these storages are adequate to meet the 2015 water year needs for the CVP. This
assumes implementation of the same drought management actions as specified above. Drier
conditions could entail further drought management activities.




                                               4
     TABLE X-1

                          Releases             Wilkins          Exports              OMR Index            DCC                     NDOI                   Chipps EC      Collinsville EC Daily
 Date          Oroville     Keswick   Folsom   Slough    CCF         Jones   Daily      5 Day    14 Day    %     QWEST   Daily           3-Day    Daily        14 Day                14 Day
                 cfs           cfs      cfs      cfs      cfs         cfs     cfs        cfs      cfs     Open    cfs      cfs             cfs    mS/cm         mS/cm   mS/cm        mS/cm

 2/1/2014        987         3,349     619      4130     393          248    -333        -261    -790      58    1970    7,149                    15.68         15.68   11.27        11.07
 2/2/2014        980         3,350     623      3832     391          251    -382        -287    -728     100    1966    7,243                    15.25         15.72   10.66        11.12
 2/3/2014        980         3,340     638      3798     397          257    -360        -309    -667     100    5115    8,205           7,532    14.97         15.75   10.63        11.18
 2/4/2014        976         3,307     648      3780     392          252    -342        -330    -606     100    4985    7,898           7,782    13.90         15.75    9.90        11.21
 2/5/2014        975         3,275     648      3842     395          252    -342        -352    -545     100    4772    7,712           7,938    13.01         15.65    9.25        11.19
 2/6/2014        980         3,316     655      4193     389          247    -341        -354    -485     100    4875    7,767           7,792    12.67         15.49    8.60        11.11
 2/7/2014      1,007         3,411     647      4330     392          242    -334        -344    -425     100    6063    9,662           8,380    12.83         15.34    8.34        11.00
 2/8/2014      1,034         3,709     648      4750     398          254    -329        -338    -366     100    6336    10,420          9,283    13.36         15.19    8.26        10.82
 2/9/2014        981         3,453    1,053     5620     397          809    -814        -432    -364     100    7904    13,680          11,254   12.63         14.93    8.00        10.57
2/10/2014      1,105         3,529     686      7688     394          804    -778        -519    -381      42    13420   23,585          15,895   10.45         14.43    6.61        10.12
2/11/2014      1,240         3,312     629     13838     2491        1604    -3414      -1134    -607      0     12633   26,919          21,395   8.01          13.81    4.81         9.56
2/12/2014      1,240         3,174     629     12113     3345        2269    -4024      -1872    -876      0     9919    26,566          25,690   6.34          13.07    3.44         8.91
2/13/2014      1,171         3,075     620      8806     2998        2591    -4781      -2762    -1200     0     8504    25,382          26,289   5.18          12.21    2.58         8.19
2/14/2014      1,038         2,994     619      7388     2998        2588    -4786      -3557    -1526     0     5414    18,527          23,492   4.51          11.34    2.23         7.47
2/15/2014        964         2,890     617      7007     2991        2592    -4798      -4361    -1845     0     1904    10,741          18,217   4.40          10.54    2.08         6.81
2/16/2014        961         2,890     613      6831     2993        2596    -4827      -4643    -2162     0     1064    8,097           12,455   4.30           9.75    1.96         6.19
2/17/2014        956         2,889     617      6483     2996        2608    -4850      -4808    -2483     0      841    7,467           8,768    3.93           8.97    1.85         5.56
2/18/2014        957         2,894     620      6827     2496        2601    -4400      -4732    -2773     0     1067    7,075           7,546    3.75           8.24    1.79         4.99
2/19/2014        958         2,932     610      6235     1497        2605    -3510      -4477    -2999     0     1837    7,339           7,294    3.91           7.59    1.85         4.46
2/20/2014        958         2,897     567      5535     1495        1975    -2965      -4110    -3186     0     2160    7,273           7,229    3.61           6.94    1.55         3.95
2/21/2014        956         2,751     630      5122     991         1714    -2306      -3606    -3327     0     2630    7,319           7,310    3.92           6.31    1.87         3.49
2/22/2014        954         2,773     610      4708     990         1715    -2328      -3102    -3470     0     2373    6,611           7,068    4.70           5.69    2.50         3.08
2/23/2014        951         2,731     585      4524     288         1074    -1122      -2446    -3492     0     3393    6,976           6,969    5.45           5.18    2.97         2.72
2/24/2014        955         2,708     590      4468     696          798    -1250      -1994    -3526     0     3112    6,256           6,614    5.51           4.82    2.92         2.46
2/25/2014        960         2,712     551      4284     693          801    -1258      -1653    -3372     0     2955    5,867           6,366    6.64           4.72    3.83         2.39
2/26/2014        964         2,710     563      4290     698          800    -1249      -1441    -3174     0      463    5,531           5,885    7.15           4.78    3.66         2.40
2/27/2014        960         2,618     650      4420     693          805    -1251      -1226    -2921     0     1815    7,724           6,374    8.22           5.00    4.45         2.54
2/28/2014        965         2,688     690      6924     691          827    -1250      -1252    -2669     0     1921    8,126           7,127    8.59           5.29    4.45         2.69
    * Per D-1641 No Chipps days required in February
                                                                                                                                                                                              Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 6 of 12




      7 Chipps Island Carryover Days From February Applied to March
        Days with modified D-1641 implementation covered by TUCP order 5
        Parameters under modified D-1641 implementation covered by TUCP order
        Days with modified OMR Implementation
        Parameters affected by modified OMR Implementation
TABLE X-2

                           Releases             Wilkins          Exports                 OMR Index            DCC                     NDOI                    Chipps EC       Collinsville EC Daily

  Date          Oroville     Keswick   Folsom   Slough    CCF         Jones      Daily       5 Day   14 Day    %     QWEST   Daily           3-Day    Daily          14 Day                 14 Day
                  cfs           cfs     cfs       cfs     cfs              cfs    cfs         cfs     cfs     Open    cfs      cfs             cfs    mS/cm          mS/cm    mS/cm         mS/cm
   3/1/2014       880         2,684     718     11167     694          811       -1150       -1232   -2408     0     7357    17,041          10,964   8.10            5.56    3.86           2.82
   3/2/2014       829         2,687     711     12838     2496         1458      -3240       -1628   -2295     0     6147    21,315          15,494   7.24            5.77    3.72           2.95
   3/3/2014       836         2,544     659     12513     2198         2085      -3594       -2097   -2205     0     5949    25,935          21,430   5.22            5.86    2.49           2.99
   3/4/2014       821         2,602     638     10272     2195         2447      -3973       -2641   -2175     0     4719    24,917          24,056   4.14            5.89    1.84           3.00
   3/5/2014       823         2,661     660     17754     2792         2871      -4919       -3375   -2275     0     3845    22,513          24,455   3.60            5.86    1.50           2.97
   3/6/2014       820         2,595    1,031    18238     2493         3312      -5045       -4154   -2424     0      -49    16,878          21,436   3.09            5.83    1.41           2.96
   3/7/2014       818         2,648     632     15529     3488         3297      -5981       -4703   -2686     0      433    22,913          20,768   2.13            5.70    0.87           2.89
   3/8/2014       821         2,543     642     15075     3487         3301      -6016       -5187   -2950     0      420    24,316          21,369   1.46            5.47    0.62           2.76
   3/9/2014       819         2,448     594     12517     3351         3195      -5791       -5551   -3283     0      -507   21,275          22,835   1.17            5.16    0.41           2.57
  3/10/2014       816         2,644     598     10309     3496         3326      -6020       -5771   -3624     0     -1400   17,820          21,137   1.32            4.86    0.46           2.40
  3/11/2014       799         2,641     550     15615     3499         3273      -5963       -5954   -3960     0     -2384   13,936          17,677   1.29            4.48    0.39           2.15
  3/12/2014       798         2,619     555     19025     2994         3361      -5601       -5878   -4271     0     -2481   11,916          14,557   1.24            4.06    0.42           1.92
  3/13/2014       800         2,631     561     14038     3694         3356      -6249       -5925   -4628     0     -2801   14,763          13,538   2.28            3.63    0.48           1.64

  3/14/2014       800         2,629     556     10861     3492         2736      -5518       -5870   -4933     0     -1875   16,694          14,457   2.67            3.21    0.59           1.36
  3/15/2014       801         2,670     554      9105     3498         2891      -5658       -5798   -5255     0     -2507   13,344          14,933   2.18            2.79    0.56           1.12
  3/16/2014       803         2,684     545      7998     3288         3338      -5896       -5785   -5445     0     -3333   9,129           13,056   2.15            2.42    0.64           0.90
  3/17/2014       813         2,692     546      7253     2090         3345      -4809       -5626   -5531     0     -2383   7,726           10,067   2.64            2.24    0.88           0.79
  3/18/2014       815         2,637     545      6420     2283         3350      -4995       -5376   -5605     0     -2893   6,030           7,629    3.03            2.16    1.12           0.74
  3/19/2014       814         2,713     546      5531     1488         3346      -4323       -5136   -5562     0     -2379   5,513           6,423    3.49            2.15    1.32           0.73
  3/20/2014       811         3,321     543      5211     1486         2753      -3826       -4770   -5475     0     -2014   4,969           5,504    4.22            2.23    1.92           0.76
  3/21/2014       810         3,166     545      4986     1194         1448      -2421       -4075   -5221     0     -1777   5,441           5,308    5.29            2.46    2.70           0.89
  3/22/2014       809         3,072     544      5173     1191         1001      -2031       -3519   -4936     0      -393   5,276           5,229    5.38            2.74    2.94           1.06
  3/23/2014       809         3,095     543      5235     705          1000      -1612       -2843   -4637     0      -322   5,703           5,473    5.19            3.03    2.95           1.24
  3/24/2014       812         3,095     548      5153     689          998       -1616       -2301   -4323     0      192    5,861           5,613    5.10            3.30    2.82           1.41
  3/25/2014       814         3,077     541      4944     998          1004      -1895       -1915   -4032     0      -292   5,287           5,617    6.29            3.65    2.93           1.59
  3/26/2014       819         3,068     529      4988     993          1004      -1922       -1815   -3770     0      -470   4,476           5,208    5.93            3.99    3.11           1.78
  3/27/2014       817         2,935     528      5091     694          866       -1551       -1719   -3434     0     1213    6,532           5,432    5.71            4.23    2.85           1.95
  3/28/2014       814         2,863     528      5314     699          801       -1498       -1697   -3147     0     1631    8,017           6,341    5.52            4.44    2.84           2.11
  3/29/2014       820         2,702     529      5673     692          804       -1481       -1669   -2848     0      937    8,056           7,535    6.18            4.72    3.02           2.29
  3/30/2014       815         2,699     528      6732     694          805       -1483       -1587   -2533     0     4014    12,141          9,405    6.11            5.01    3.15           2.47
  3/31/2014       812         2,546     528     13867     692          804       -1430       -1489   -2292     0     4742    13,962          11,386   5.80            5.23    2.77           2.60


         * Per D-1641 29 Chipps days required in March
                                                                                                                                                                                                      Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 7 of 12




           7 Chipps Island Carryover Days From February Applied to March
                                                                         6
           Days with modified D-1641 implementation covered by TUCP order
           Parameters under modified D-1641 implementation covered by TUCP order
           Days with modified OMR Implementation
           Parameters affected by modified OMR Implementation
Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 8 of 12

Attachment 1




           DEPARTMENT OF WATER RESOURCES AND
               U.S. BUREAU OF RECLAMATION
    REPORT TO SWRCB ON EXPORT AMOUNTS TO MAINTAIN
                       HEALTH AND SAFETY
                        DURING DROUGHT



                        FEBRUARY 14, 2014




                                 7
        Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 9 of 12




                      Department of Water Resources and U.S. Bureau of Reclamation
                     Report to SWRCB on Export Amounts to Maintain Health and Safety
                                            During Drought1

    As required by the January 31, 2014, State Water Resources Control Board Order Approving a
    Temporary Urgency Change in License and Permit Terms and Conditions Requiring Compliance with
    Delta Water Quality Objectives in Response to Drought Conditions (with Modifications Dated February
    7, 2014) (Board Order), this report provides documentation for State Water Project (SWP) and Central
    Valley Project (CVP) export amounts and deliveries required to maintain public health and safety. The
    Board Order conditions 1 and 2 require:

1. Except as otherwise provided in condition 2, below, for a period not to exceed 180 days or until such
time as this Order is amended or rescinded based on changed circumstances, the requirements of D-
1641 for DWR [the Department of Water Resources] and Reclamation [U.S. Bureau of Reclamation] to
meet specified water quality objectives are amended as follows:

        a. The minimum Delta Outflow levels specified in Table 3 are modified as follows: the minimum
Net Delta Outflow Index (NDOI) described in Figure 3 of D-1641 during the month of February shall be no
less than 3,000 cubic-feet per second (cfs). In addition to base Delta Outflows, pursuant to this Order, a
higher pulse flow may also be required through the Real-Time Drought Operations Management Process
described below.

         b. The maximum Export Limits included in Table 3 are modified as follows: the combined
maximum SWP and CVP export rate for SWP and CVP contractors at the Harvey O. Banks and C.W. “Bill”
Jones pumping plants shall be no greater than the minimum pumping levels required for health and safety
purposes and shall be no greater than 1,500 cfs on a 3-day running average. Deliveries to SWP and CVP
export contractors from the SWP and CVP shall also be limited to health and safety needs. These
limitations do not apply to water transfers under non-SWP or CVP water rights or between SWP and CVP
contractors. DWR and Reclamation shall refine what export amounts and deliveries are required to
maintain health and safety and shall provide documentation to the State Water Board to support that
determination by February 14. Based on additional information or changed circumstances, the export
limits imposed pursuant to this Order may be modified through the Real-Time Drought Operations
Management Process described below.

        c. The Delta Cross Channel (DCC) Gate Closure requirements included in Table 3 are modified as
follows: the DCC gates may be opened from February 1 through May 20 as necessary to preserve limited
storage in upstream reservoirs and reduce infiltration of high salinity water into the Delta while reducing
impacts on migrating Chinook salmon. Requirements for closure of the DCC gates during March through
May 20 shall be determined through the Real-Time Drought Operations Management Process described
below.



1
 The report is submitted in compliance with condition 1.b of SWRCB Water Rights Order Approving Temporary Urgency Change
modification of D-1641 (January 31, 2014).

                                                            8
    Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 10 of 12

2. During the effective period of this Order, if precipitation events occur that enable DWR and
Reclamation to comply with the Delta Outflow and DCC Gate Closure requirements contained in Table 3
of D-1641, then D-1641 requirements shall be operative, except that any SWP and CVP exports greater
than 1,500 cfs shall be limited to natural or abandoned flow, or transfers as specified in condition 1b.

 Below is a summary of actions taken under the operations authorized by the Board Order.

 Early February Operations
 From February 1 through February 9, 2014, and per the Board Order, the Delta Cross Channel gates
 were open and the SWP and CVP (referred to jointly as the Projects) were operating to a minimum Net
 Delta Outflow Index of 3,000 cfs, which required Delta exports to be at minimum levels. Combined
 exports each day during this period were approximately 650 cfs as a short term measure to ameliorate
 deteriorating water quality in the Delta. However, pumping rates below 1,500 cfs are difficult for the
 Projects to sustain in the long term due to a combination of certain contractor demands and physical
 constraints of the facilities.

 Reclamation must maintain flow in the Delta Mendota Canal (DMC) to allow the City of Tracy the ability
 to divert water directly from the DMC. Reclamation typically meets this demand by operating one small
 pumping unit at Jones Pumping Plant continuously. Jones Pumping Plant has six pumping units with up
 to five operating at any time. The pumping capacities of the units vary from about 850 cfs to about
 1,050 cfs. The small pumping unit used for continuous operations has a minimum design standard of
 850 cfs. The pumps were originally designed for long-term operations with minimal starts and stops.
 And, in accordance with this design intent, Reclamation does not cycle the pumps under normal
 operations. Excessive starting and stopping of the pumps from cycling the units would greatly degrade
 the motors and windings of the pump unit and would reduce the reliability of the pumps. This operation
 would lead to lengthy and costly repairs. As just experienced in February, cycling a pump unit for a
 short-term emergency variance may occur, but this should not be considered as an option for a
 sustained operation.

 SWP exports during the first week of February went to meet the demands of Byron-Bethany Irrigation
 District and South Bay Aqueduct contractors (Alameda County Flood and Water Conservation District
 Zone 7, Alameda County Water District, and Santa Clara Valley Water District) whose only source of SWP
 water is Delta exports. Contractors that receive water supply through the South Bay Aqueduct are
 extremely vulnerable to water quality degradation in the Delta because there is limited storage or
 dilution capability on this system; water is pumped from the Delta at Banks Pumping Plant and conveyed
 directly through the aqueduct to water treatment plants operated by the Districts. Consequently,
 degradation of water quality in the Delta is felt at these water treatment plants within 24 hours.
 Therefore, as a contingency response for possible future salinity degradation, a portion of SWP exports
 (approximately 1.5 TAF) also went into storage in Lake Del Valle during the first week of February. This
 water will be used as blending water in the event that Delta salinity conditions become too poor to meet
 drinking water health and safety standards in the future. No water exported during this period was
 intended to be stored in San Luis Reservoir or delivered for agricultural use.

 Current Operations
 Following a series of precipitation events in early February, Delta outflow began to exceed 7,100 cfs and
 the Delta Cross Channel gates were closed on February 10. As allowed by a provision added to the
 Order on February 7, “if precipitation events occur that enable DWR and Reclamation to comply with
 the Delta outflow and Delta Cross Channel gate closure requirements contained in D-1641, then D-1641

                                                     9
    Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 11 of 12

requirements shall be operative, except that any SWP and CVP exports greater than 1500 cubic feet per
second shall be limited to natural or abandoned flow.” Since February 11, the Projects have been
operating to meet the terms of the D-1641 standards that had been modified by the Order; therefore,
Delta exports have been increased above minimum levels to capture natural or abandoned flow. The
Projects continue to comply with the requirements of the National Marine Fisheries Service (NMFS) and
U.S. Fish and Wildlife Service (FWS) biological opinions2, as well as the requirements set forth by the
California Department of Fish and Wildlife (DFW) for the protection of Longfin Smelt. SWP water
exported in excess of 1,500 cfs is currently being stored in San Luis Reservoir and may be used for SWP
system-wide blending to meet drinking water health and safety standards in the event that Delta water
quality conditions degrade further in the future.

The Projects currently anticipate meeting D-1641 requirements addressed by the Order through the rest
of February.

Information to Develop Health and Safety Export Levels
For many reasons, DWR and Reclamation believe that ultimately the minimum health and safety export
level at any one time will be a range and that 1,500 cfs is a reasonable cap on that range. The bottom of
this range remains undetermined and is the focus of efforts by DWR and Reclamation at this time.
Actual health and safety export levels will depend on a number of factors and should take into account
not only the need to deliver water directly for drinking water, sanitation, and fire suppression purposes,
but also the need to store water now for blending later for health and safety water quality
considerations in the event that, without blending, Delta diversions become unusable later in the year.
In addition, there are facility operational constraints. Following is a discussion of the factors that will
influence this range.

Title 22 CA Code of Regulations and the Health and Safety Code CA Safe Drinking Water Act require that
permitted public water systems meet drinking water standards producing drinking water that is pure
and wholesome for public consumption. Surface water delivered through the SWP to Municipal and
Industrial (M&I) State Water Contractors (SWC) is treated to produce drinking water that meets these
standards.

Generally, minimum consumption rates of 50 gallons per capita per day may need to be augmented with
water supplies for fire protection and suppression efforts throughout the season. Current drought
conditions promote the need to divert south Delta exports to SWP and CVP storage facilities south of
the Delta, and to reduce releases from SWP and CVP storage facilities north of the Delta for future use
as a source for drinking water, sanitation, fire protection, temperature control, releases to benefit
fisheries, etc.

A combined pumping rate of 1,500 cfs is the most biologically protective export rate analyzed in both
the 2008 Fish and Wildlife Service biological opinion for smelt (2008 BiOp), and the 2009 NOAA Fisheries
biological opinion for salmonids and green sturgeon (2009 BiOp). That rate is based on minimum
municipal and refuge contractor supply demands, as well as the physical constraints at Jones Pumping
Plant. At the 1,500 cfs level, negative flows in Old and Middle Rivers (OMR) and entrainment risks are
reduced. Neither BiOp requires exports of less than 1,500 cfs in recognition of health and safety.
2
  2008 CVP/SWP Long Term Operation Biological Opinion, and 2009 NMFS CVP/SWP Long Term Operation
Biological Opinion, as confirmed by NMFS and FWS on January 31, 2014, and DFW on February 3, 2014.



                                                         10
       Case 1:20-cv-00431-DAD-EPG Document 369-5 Filed 01/24/22 Page 12 of 12

    Therefore, holding the maximum minimum health and safety level to 1,500 cfs will result in no
    additional effects to species not already analyzed in the 2008 and 2009 BiOps, would remain consistent
    with the Board’s Order requiring compliance with both the California and federal ESA requirements3,
    and, therefore would not have unreasonable effects upon fish.

    The Board Order restricting deliveries to SWP and CVP export contractors to health and safety needs
    could be read as inconsistent with the long understanding that the minimum health and safety level for
    export pumping is a combined 1,500 cfs, as the water pumped at those levels is needed to satisfy the
    pumps’ physical constraints, and, importantly, refuge supplies off the DMC and San Luis Canal. Refuge
    deliveries are a legal requirement of the Central Valley Project Improvement Act, yet a strict reading of
    the Board Order would prevent any of the export water to be used for refuge supply as the refuges are
    CVP contractors who receive water exported from the Delta. An operation in strict compliance with this
    provision of the Board Order is impractical and is not consistent with safe operation of the facilities.

    Conclusion
    Information presented in this report represents the best available information to date on the health and
    safety rate of exports. DWR and Reclamation recognize that additional information may become
    available in the future and, and will keep the Board apprised of this additional information. DWR and
    Reclamation have requested from SWP and CVP contracting water agencies information about
    forecasted future water needs now and throughout the year. Developing this information is challenging
    since it is difficult to predict how conditions will change as the drought continues. Our understanding
    about what we can expect in terms of supply and future water quality continues to evolve as well. As
    stated above, the Projects’ minimum health and safety export is likely to be a range, which will vary
    according to the circumstances and information related to water agency needs. If DWR and
    Reclamation determine a refinement of the minimum health and safety export level is appropriate
    based on the information we may obtain from the agencies, we would provide this information to the
    Water Board and to the Real Time Drought Operations Management Team.

    If you have questions or would like more information about this report, please contact Mr. John Leahigh
    of DWR at 916-574-2722 or Mr. Paul Fujitani of Reclamation at 916-979-2197.




3
  The United States and DWR asserted in 2007 in NRDC v. Norton that an export rate of 1,500 cfs was necessary to meet health
and safety demands consistent with facility limitations. The court ultimately did not prohibit the Projects from taking any action
to protect the structural integrity of CVP or SWP facilities.

                                                                11
